U.S. Department of Justice

 

United States Atiorney.

 

 

District of Maryland
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~ June 25, 2019 2 =.
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Jonathan Paul Van Hoven “3 -
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One North Charles Street; Suite 1215 8
Tanaka 1 .3T90) Tet a)
Baltinore, MD 21201 5 & A -—
_ fe i
Re: United States :y. Jermaine Sumpter, GS wa
Criminal No. RDB-19-0144:.(D. Md.) 4 on
Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement (this
*“Aoreement’ *) that has been offered to your client, Jermaine Sumpter (hereinafter ° ‘Defendant”),
by the United States Aittorney’s Office for the District of Maryland (“this Office”). If the
Defendant accepts;this offer; please have thé Defendant execute it.in the spaces provided below.

If this offer has not been accepted by July’9, 2019, it will be deemed withdrawn, The terms of the
Agreerhent aré as follows:

Offense of Conviction
1. _The Defendant agrees to plead guilty, ‘to Count Two of the Indictment, which charges with .
the Defendant with conspiracy to affect interstate commerce by robbery, in violation of 18 U.S.C.
§ 1951.

The Defendant’ admits that the Deféndant is, in fact, guilty of this offense and will so
advise the Court.

Elements of the Offense

2. The elements of the-offense fo which tlie Defendant has agreed to plead guilty, and which
this Office would prove if the case went to trial, are as follows
Count Two

That from in or about November 2018 through on or about March 7, 2019, in the District _
of Maryland and elsewhere, the Defendant agreed with one or more other persons: ,

"a. to take the personal property of another, or ‘from the presence of another; and

b. to take this property against the victim’s will, by actual or threatened force,
violence, or T fear of injury; and

c. that as a result of the agreement, interstate commerce, or an item moving in
interstate commerce, was actually or potentially delayed, obstructed, or affected in
some way or r degree.

 

 

 

 

 

 

 

 

 

 

 

Penaities

3. The maximum penalties provided by statute for the offenses to which the Defendant i is

pleading guilty are as follows:
COUNT | STATUTE MAND. MIN. MAX MAX MAX FINE | SPECIAL
IMPRISON- ‘| IMPRISON- SUPERVISED ASSESS-

. _ MENT MENT RELEASE MENT
2° «| 18 U.S.C. N/A 20 years 3 years $250,000 | $100
§ 1951
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons has sole

discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and the |
Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment up to the entire original term of supervised
release if permitted by statute, followed by an additional term of supervised release.

c. Restitution: ‘The Court may order the Defendant to pay restitution pursuant to 18
U.S.C. §§ 3663, 3663A, and 3664.

da Payment: ‘Ifa fine or restitution is imposed, it shall be payable immediately, unless
the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to pay
interest if the fine is not paid when due.

e. Forfeiture: The Court may enter.an order of forfeiture of assets directly traceable
to the offense, substitute assets, and/or a money judgment equal to the value of the property subject
to forfeiture.
f.. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for ‘collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ alt powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

Waiver of Rights

4, The Defendant understands that by entering into this Agreement, the Defendant surrenders
certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the ©
Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

c. If the Defendant went to trial, the-government would have the burden of proving’
the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to confront
and cross-examine the government’s witnesses. The Defendant would not have to present any _
defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in defense,
however, the Defendant would have the subpoena power of the Court to compel the witnesses to
attend.

- de The Defendant would have the right to testify in the Defendant’s own defense if
the Defendant so chose, and the Defendant would have the right to refuse to testify. If the
Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify. _
e. If the Defendant were found guilty after a trial, the Defendant would have the right
to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges. By
Pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the Court’s

ecisions.

f. By pleading guilty, the Defendant will be giving up all of these rights, except the
tight, under the limited circumstances set forth in the “Waiver of Appeal” paragraph below, to
appeal the sentence. By pleading guilty, the Defendant understands that the Defendant may have
to answer the Court’s questions both about the rights being given up and about the facts of the
case. Any statements that the Defendant makes during such a hearing would not be admissible
against the Defendant during a trial except in a criminal proceeding for perjury or false statement.

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be giving up
the right to file and have the Court rule on pretrial motions, and there will be no further trial or
proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

h. — By pleading guilty, the Defendant wiil also be giving up certain valuable civil
rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The

' Defendant nevertheless affirms that the Defendant wants to Plead guilty regardless of any potential
_ immigration consequences.

Advisory Sentencing Guidelines Apply

5. ° The Defendant understands that the Court will determine a sentencing guidelines range for
this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform Act of
1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and 28 U.S.C.

§§ 991 through 998. The Defendant further understands that the Court will impose a sentence
pursuant to the Sentencing Reform Act, as excised, and must take into account the advisory
guidelines range in establishing a réasonable sentence.

Factual and Advisory Guidelines Stipulation

6. a. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein. This Office and the Defendant further

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agree that the applicable base offense level with respect to Count Two is a level 20 pursuant to
United States Sentencing Guidelines (“U.S.S.G.”) § 2B3.1(a).

b. This Office does not oppose a two-level reduction in the Defendant’s adjusted
offense level pursuant to U.S.8.G. § 3E1.1(a), based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. This Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional
one-level reduction in recognition of the Defendant’s timely notification of the Defendant’s
intention to enter a plea of guilty. This Office may oppose any adjustment for acceptance of
responsibility under U.S.S.G. § 3E1.1(a) and may decline to make a motion pursuant to U.S.S.G. —
§ 3E1.1(b), if the Defendant: (i) fails to admit each and every item in the factual stipulation; (ii)
denies involvement in the offense; (iii) gives conflicting statements about the Defendant’s
involvement in the offense; (iv) i is untruthful with the Court, this Office, or the United States
Probation Office; (v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in
any criminal conduct between the date of this Agreement and the date of sentencing; (vii) attempts |
to withdraw the plea of guilty; « or (vili) violates this Agreement in any way.

7. -. There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’ s criminal history could alter the Defendant’s offense level.

Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Obligations of the Parties

9. At the time of sentencing, this Office‘and the Defendant reserve the right to advocate for a
reasonable sentence, period of supervised release, and/or fine considering any appropriate factors
under 18 U.S.C. § 3553(a). This Office and the Defendant reserve the right to bring to the Court’s
- attention all information with respect to the Defendant’s background, character, and conduct that ~
this Office or the Defendant deem relevant to sentencing, including the conduct that is the subject
of any counts of the Indictment. At the time of sentencing, this Office will move to dismiss any
open counts against the Defendant.

Waiver of Appeal

10. . In exchange for the concessions made by this Office and the Defendant in this Agreement,
this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or any

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other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading puilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s).

b. The Defendant and this Office knowingly and expressly waive all rights conferred
by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of imprisonment,
fine, term of supervised release, or order of restitution) for any reason (including the establishment
of the advisory sentencing guidelines range, the determination of the Defendant’s criminal history,
the weighing of the sentencing factors, and any constitutional challenges to the calculation and
imposition of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release), except as follows:

(i) The Defendant reserves the right to appeal any sentence that exceeds the
statutory maximum; and

(ii) This Office reserves the right to appeal any sentence below a statutory
minimum; ,

c. The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Office or any investigating agency.

Forfeiture

lla The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense(s), substitute assets, and/or a money judgment equal to the value of the property
derived from, or otherwise involved in, the offenses.

b. . The Defendant agrees to consent to the entry of orders of forfeiture for the property
described in the two above subparagraphs and waives the requirements of Federal Rules of
Criminal Procedure 11(b)(1)(J), 32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

-e The Defendant agrees to assist fully i in the forfeiture of the above property. The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access ©
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.
 

d. The Defendant waives all challenges to any forfeiture carried out in accordance
with this: Agreement on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture.

Defendant’s Conduct Prior to Sentencing and Breach

12, a. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea: -of guilty or from this Agreement. :

b. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information’ or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
~ will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
11(c)(1)(C)—if the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(c)(1)(C).

- Court Not a Party

13. The Court is not a party to this Agreement. The sentence to be imposed is within the sole
discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation in this
Agreement. The Court will determine the facts relevant to sentencing. The Court is not required
to accept. any recommendation or stipulation of the parties. The Court has the power to impose a
sentence up to the maximum penalty allowed by law. If the Court makes sentencing findings
different from those stipulated in this Agreement, or if the Court imposes any sentence up to the
maximum allowed by statute, the Defendant will remain bound to fulfill all of the obligations under
this Agreement. Neither the prosecutor, defense counsel, nor the Court can make a binding
_ prediction, promise, or representation as to what guidelines range or sentence the Defendant will
receive. The Defendant agrees that no one has made such a binding prediction or promise.

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Entire Agreement,

14. Fhis Jetter, together with the Sealed: Supplement, constitutes the complete: plea agreement.
in.this.case. This letter, together with:the Sealed. Supplement, supersedes any prior-undersiandings,
prot: es, of conditions between this Office afid:the Deferiddnt. Theré are-no other agreements,

profiiises, undertakings, or atider standings betweeii the Defendant and this Office: other’ than those
set fortlt ii this letter andthe Sealed Supplement. No chahges'to this Agreement will be.effective
unless i dn: ‘writing; signed by i all partiesvand: approved by the Court.

 

Ifthe Defendant filly: accepts each and everyterm and condition. of this Agreement, please
-sign.and have thé Defendant: sign the. original and ¢eturn if to me promiptly.

Very truly yours,
Roberi.K. Hur
United States: Attorney

By: .Chisibdinss

Christina :A. “Hoffman,
Peter]. Martinez,
Assistant United States Attorney

 

have read this Agréement, ‘including thé Sealed Supplemetit, and carefully reviewed every
part of it with my attomey. I understarid it and T voluntatily. agteé 10 it. Specifically, I have
reviewed the Facrial-and Advisory Guidelines Stipulation: with sry attorney and 1.do notwish to
changeatiy part of it. Lam mcompletely satisfied waitlr the representation of my. attorney:

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6-27-14 |

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‘dine Sumptei!

. | am.the. Defendant's attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplemeni. with the Defendant. ‘The Defendant advises ane that the
Defendant understands arid accepts its terms. Tomy knowledge, the Defendant 's.decision to enter
‘nto this Agreement i is. an informed and voluntary: one:

— la Ne _

Date a Tonathal Wan Hoven, Esq. |
ATTACHMENT A

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STIPULATION OF FACTS

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_ The undersigned parties stipulate and agree that if this case had proceedéd tostridl, iis

- Office would have proven the following facts beyond a reasonable doubt. The undéfsigned ‘partiés

also stipulate and agree that the following facts do not encompass all of the evident¢e that would
have been presented had this matter proceeded to trial.

During the week of November 11, 2018, a confidential source (CS-1) placed a call to

Cortez Weaver that was monitored by law enforcement. During the call, CS-1 made plans to meet

. Weaver to discuss a potential “lick,” 7.e., a robbery opportunity. Soon after, CS-] met with Weaver
and clandestinely recorded their conversation. CS-1 told Weaver about an opportunity to rob a
drug stash house. Unbeknownst to Weaver, the robbery opportunity was a fiction and the drug
stash house did not exist. Weaver agreed to carry out the robbery, and he stated that this was “the

same shit” that “me and Jugg been doing.” “Jugg” is a known alias of the Defendant, and CS-1

later identified the Defendant as the person known to her as “Jugg.” |

On February 12, 2019, a Baltimore Police Department undercover officer (UC-1]} met with

Weaver at a restaurant in Baltimore City to discuss the robbery opportunity. Weaver brought

Kevin Brooks and Jamal Jackson with him. UC-1 wore a recording device to capture his

_ interactions with Weaver and his co-conspirators. UC-1 explained to the group that he was a drug

trafficker who was interested in robbing his source of supply of multiple kilograms of heroin.

Weaver, Brooks, and Jackson indicated that they were interested in assisting UC-1, discussed how
the robbery would be committed, and discussed -how they would resell the stolen heroin.

On March 6, 2019, UC-1 again met with Weaver, Brooks, and Jackson at a restaurant in
Baltimore City to discuss the robbery opportunity. This time, Weaver arrived in a black Nissan
Maxima driven by the Defendant. The Defendant entered the restaurant and appeared to surveil
the meeting with UC-1 from a distance. UC-1 again wore a recording device to capture his
interactions with Weaver, Brooks, and Jackson. During the discussion, Weaver described his plan
to neutralize the three individuals whom he expected to be guarding the stash house. “One nigga
grab him at the door,” Weaver said. “One nigga grab the nigga in the middle. The other nigga in
- “back,” Jackson later stated, “We ready. We ready. We already got enough artillery to do what

the fuck we said then. We gonna get in there.” Jackson also stated that following the tobbery, he -

and his associates would “drop the three”—that is, they would “cut” the heroin with adulterants—
before selling it in the streets. oO

On the morning of March 7, 2019, UC-1 made plans to meet Weaver, Brooks, and Jackson
in the parking lot of a Royal Farms in Baltimore City in order to commit the robbery. Weaver,
Brooks, and Jackson arrived in a black Nissan Maxima driven by the Defendant. Weaver exited
the Nissan Maxima and accompanied UC-1 to a nearby storage facility where the group planned
to split the proceeds of the robbery once it was completed. Brooks, Jackson, and the Defendant
waited in the Defendant’s vehicle at the Royal Farms.

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At:the storage facility, ateam of law enforcement officers approached UC-1"s vehicle and
placed Weaver under arrest. During a search of Weaver’s person, the officers recovered a loaded
Ruger .357 revolver, 1] pink-top vials containing suspected cocaine, and-a mask. They also
‘recovered a pair: ‘of black woolen gloves from the passenger area of UC-1*s vehicle wheré Weaver
had been sittiig.

Meanwhile, a second téam of law enforcement officers approached the black Nissan
Maxima in the Royal Earms parking lot and placed Brooks, Jackson, and the Defendant under
arrest: At the time of the arrest, the Deféndant was in the driver’s seat of the vehicle, Brooks was
in the rear driver’s side seat, and Jackson-was in the rear passenger side seat. During searches
incident to arresi,-officers recovered black. masks from both Brooks and Jackson. From ‘the rear
passénger side area (where Jackson had been sitting), the officers recovered a pair of black woolen
gloves and a loaded Kéltec 9 millimeterthandgur. From the tear driver's side area (where Brooks
had been siiting), the officers recovered a pair of black woolen gloves,

Following his. arrest, the Defendant waived his Miranda rights and-agreed to participate
in an interview with FBI agents and task force officers. Asked by investigators-about the robbery:
_-plan, the Defendant acknowledged that tie was aware that Weaver, Brooks, and Jackson were
planning 1o“burn” UC-1, in other words, “work him, s¢e what, he got, bury him”? Thé Defendant
also acknowledged that it most likely involved “dope,” i¢., heroin. The Defendant’ denied
knowing that guns would be used in the robbery, and stated.that his role was simply to be the
driver. -

The parties agree and sfipulate that the Defendant agreed with his co-conspirators to take
heroin from UC-1's source of supply through the use of force, violéicé, and fear. Heroin is a
corimodity manufactured outside the state of Maryland and that travels in interstate commerce.
‘Therefore, the robbery of tlie heroin from the source of supply.would have ‘interfered with the
interstate commercial activity of narcotics irafficking.

SO STIPULATED:

Christina A. Hoffman
Peter J. Martinez
Assisiant United States Attorney

Fermaine Sumpter
Defendant

Wy Hoven, Esq.

Counsel for Defendant

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